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                                      EXHIBIT A

                                     Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)

                                                               Ref No. __


    ORDER AUTHORIZING (I) DEBTORS TO PAY CERTAIN TAXES AND FEES AND
     (II) FINANCIAL INSTITUTIONS TO HONOR RELATED PAYMENT REQUESTS

                  Upon the motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”), for entry of an order (this “Order”) (i)

authorizing the Debtors to remit and pay (or use applicable tax credits to offset) the Taxes in the

ordinary course of business that are payable or become payable during the pendency of these

Chapter 11 Cases (including obligations subsequently determined upon audit or otherwise to be

owed for periods prior to the Petition Date) and (ii) authorizing applicable banks and other

financial institutions to honor and process related checks and transfers; and this Court having

jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court being able to issue a final order consistent with Article

III of the United States Constitution; and venue of these Chapter 11 Cases and the Motion in this

district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core

proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper and adequate

1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX.
2
     Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.




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notice of the Motion and the relief requested therein has been provided in accordance with the

Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no other or

further notice is necessary; and objections (if any) to the Motion having been withdrawn,

resolved or overruled on the merits; and a hearing having been held to consider the relief

requested in the Motion and upon the record of the hearing and all of the proceedings had before

this Court; and this Court having found and determined that the relief sought in the Motion is in

the best interests of the Debtors and their estates; and that the legal and factual bases set forth in

the Motion establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.   The Motion is GRANTED as set forth herein.

                  2.   The Debtors are authorized to pay and remit any and all Prepetition Taxes

due and owing to Taxing Authorities in an aggregate amount not to exceed $4.025 million.

                  3.   The Debtors are authorized to pay and remit Taxes that accrue or are

incurred in the ordinary course of business on a postpetition basis.

                  4.   To the extent the Debtors have not yet remitted payment to the Taxing

Authorities for Prepetition Taxes, the Debtors are authorized to issue checks or provide for other

means of payment to the Taxing Authorities to the extent necessary to pay Prepetition Taxes.

                  5.   The Debtors are authorized to issue postpetition checks, or to effect

postpetition fund transfer requests, in replacement of any checks or fund transfer requests that

are dishonored or rejected as a consequence of these Chapter 11 Cases with respect to any

Prepetition Taxes.




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                  6.     The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

                  7.     In accordance with this Order (or other order of this Court), each of the

financial institutions at which the Debtors maintain their accounts relating to the payment of the

obligations described in the Motion are authorized, but not directed, to (a) receive, process,

honor and pay all checks presented for payment and to honor all fund transfer requests made by

the Debtors related thereto, to the extent that sufficient funds are on deposit in those accounts

and (b) accept and rely on all representations made by the Debtors with respect to which checks,

drafts, wires or automated clearing house transfers should be honored or dishonored in

accordance with this or any other order of this Court, whether such checks, drafts, wires, or

transfers are dated prior to, on or subsequent to the Petition Date, without any duty to inquire

otherwise and without any liability for following the Debtors’ instructions.

                  8.     Nothing in the Motion or this Order, nor as a result of any payment made

pursuant to this Order, shall be deemed or construed as an admission as to the validity or priority

of any claim against the Debtors, an approval or assumption of any agreement, contract or lease

pursuant to section 365 of the Bankruptcy Code or a waiver of the right of the Debtors or of any

claims or causes of action which may exist against any Taxing Authority, or shall impair the

ability of the Debtors to contest or seek relief under any section of the Bankruptcy Code in

respect of the validity and amount of any payment made pursuant to this Order.

                  9.     This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.




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                  10.   This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.

Dated: __________________
       Wilmington, Delaware                            The Honorable John T. Dorsey
                                                       United States Bankruptcy Judge




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